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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Southern District
                                                   __________  District of
                                                                        of __________
                                                                           Texas

                  United States of America                           )
                             v.                                      )
              Fernando PALOMO-Gonzalez
                                                                     )      Case No.     5:19-mj-535
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     04/28/2019                   in the county of                Webb              in the
     Southern          District of            Texas              , the defendant(s) violated:

            Code Section                                                       Offense Description
21 U.S.C 952, 963                                 Knowingly and unlawfully, import and conspire to import from a place outside
                                                  the United States, to wit: the Republic of Mexico, to a place in the United
                                                  States, to wit: Laredo, Texas, a controlled substance listed under Schedule II,
                                                  Title II, of the Controlled Substances Act, to wit: approximately 88.14
                                                  kilograms, gross weight, of methamphetamine.




         This criminal complaint is based on these facts:
See Attachement "A"




         ✔ Continued on the attached sheet.
         ’

                                                                                                 /s/Gabriel RIos Jr
                                                                                                Complainant’s signature

                                                                                       Gabriel Rios Jr., Special Agent HSI
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date:             04/29/2019
                                                                                                   Judge’s signature

City and state:                          Laredo, Texas                               John. A. Kazen, U.S. Magistrate Judge
                                                                                                 Printed name and title



        Print                        Save As...                   Attach                                                  Reset
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                                                                     5:19-mj-535

                                     Attachment A


I, Gabriel Rios Jr., a Special Agent with Homeland Security Investigations, have
knowledge of the following facts:


       1. On April 28, 2019, Fernando PALOMO- Gonzalez entered the United States
          via the Lincoln Juarez Bridge, Port of Entry, in Laredo, Texas, as the driver of
          a 2002 blue Chevrolet Silverado.

       2. A secondary inspection of the vehicle resulted in the discovery of 88.14
          kilograms of a clear, liquid-like substance that field tested positive for
          methamphetamine concealed within the propane tank located in the bed of the
          truck.

       3. Homeland Security Investigations (HSI) Special Agents and a Task Force
          Officer (TFO) responded to the aforementioned seizure. PALOMO-Gonzalez
          was advised of his Miranda rights in the Spanish language. PALOMO-
          Gonzalez signed a waiver of rights form and agreed to make a statement
          without the presence of an attorney.

       4. During the interview, PALOMO-Gonzalez stated to HSI agents and TFO he
          told the primary CBPO, he and his passenger were on their way to Houston,
          Texas to drop off the truck. PALOMO-Gonzalez stated he was going to be
          paid $1,500.00 dollars to transport the truck from Monterrey, Nuevo Leon,
          Mexico to Houston, Texas. PALOMO-Gonzalez stated to transporting
          building material on four different occasions for the same individuals.
          PALOMO-Gonzalez noted that the building materials cost less than the
          payments he received for transporting the building materials. PALOMO-
          Gonzalez knew his payment was excessive for the building materials he was
          transporting to Houston, Texas. PALOMO-Gonzalez also admitted he became
          suspicious that he might be transporting narcotics because his payment for
          transporting the truck was almost the same amount as the value of the truck he
          was transporting.
